Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 1 of 43. PageID #: 163457




                              EXHIBIT 220
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 2 of 43. PageID #: 163458
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 3 of 43. PageID #: 163459
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 4 of 43. PageID #: 163460
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 5 of 43. PageID #: 163461
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 6 of 43. PageID #: 163462
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 7 of 43. PageID #: 163463
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 8 of 43. PageID #: 163464
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 9 of 43. PageID #: 163465
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 10 of 43. PageID #: 163466
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 11 of 43. PageID #: 163467
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 12 of 43. PageID #: 163468
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 13 of 43. PageID #: 163469
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 14 of 43. PageID #: 163470
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 15 of 43. PageID #: 163471
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 16 of 43. PageID #: 163472
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 17 of 43. PageID #: 163473
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 18 of 43. PageID #: 163474
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 19 of 43. PageID #: 163475
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 20 of 43. PageID #: 163476
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 21 of 43. PageID #: 163477
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 22 of 43. PageID #: 163478
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 23 of 43. PageID #: 163479
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 24 of 43. PageID #: 163480
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 25 of 43. PageID #: 163481
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 26 of 43. PageID #: 163482
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 27 of 43. PageID #: 163483
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 28 of 43. PageID #: 163484
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 29 of 43. PageID #: 163485
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 30 of 43. PageID #: 163486
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 31 of 43. PageID #: 163487
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 32 of 43. PageID #: 163488
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 33 of 43. PageID #: 163489
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 34 of 43. PageID #: 163490
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 35 of 43. PageID #: 163491
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 36 of 43. PageID #: 163492
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 37 of 43. PageID #: 163493
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 38 of 43. PageID #: 163494
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 39 of 43. PageID #: 163495
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 40 of 43. PageID #: 163496
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 41 of 43. PageID #: 163497
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 42 of 43. PageID #: 163498
Case: 1:17-md-02804-DAP Doc #: 1964-8 Filed: 07/23/19 43 of 43. PageID #: 163499
